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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                                    §
                                    §
KEVIN KNIPP,                        § Case No.: 1:22-cv-01149-SKC
                                    §
                   Plaintiff,       §
                                    §
            vs.                     §
                                    § NOTICE OF VOLUNTARY DISMISSAL
WHITING PETROLEUM CORPORATION,
                                    § PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
KEVIN S. MCCARTHY, JANET L. CARRIG,
                                    §
SUSAN M. CUNNINGHAM, PAUL J.
                                    §
KORUS, LYNN A. PETERSON, DANIEL J.
                                    §
RICE, and ANNE TAYLOR,
                                    §
                                    §
                 Defendants.
                                    §
                                    §


       Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, plaintiff Kevin Knipp (“Plaintiff”) voluntarily dismisses this action without prejudice.

This notice of dismissal is being filed before service by Defendants of either an answer or a motion

for summary judgment. Plaintiff’s dismissal of this Action is effective upon filing of this notice.


 Dated: July 8, 2022                           BRODSKY & SMITH

                                         By: /s/ Marc L. Ackerman
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